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                                                                                             FILED
                                      IN THE UNITED STATES DISTRICT COURT
                                                                                            MAY    2A   2019

                                       FOR THE WESTERN DISTRICT OF TEXAS                  CLERK,   I4 dB1cT CLERIc
                                                AUSTIN DIVISION                          WESTERk DWR19T OP TEXAS


BONNIE CRANKSHAW,

                     Plaintiff,

V.



CITY OF ELGIN and THOMAS                                                         1:1 8-CV-75-RP
MATTIS, Citji Manager, in his individual cap acitj',

          Defendants.

                                                     VERDICT FORM

                 PART          1:   Plaintiff Crankshaw's Claims against Defendant City of Elgin

                                          (First Cause of Action: FMLA Interference)

          Question 1

       Did Defendant City of Elgin deny, restrain, or interfere with Plaintiff's right to leave
under the FMLA, or with her attempt to exercise her right to leave under the FML\ after her
second request for F\'fLA leave on October 3, 2016?

          Answer "Yes" or "No."



Proceed   to   Question   2.



           Question 2

       Did Defendant City of Elgin fail or refuse to restore Plaintiff Bonnie Crankshaw to her same
or an equivalent job position on her return from FMLA leave?

          Answer "Yes" or "No."



Proceed to Question       3.
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                           (Second Cause of Action: FMLA Retaliation)

         Question 3

        Did Defendant City of Elgin terminate Plaintiff Bonnie Crankshaw because of her FMLA-
protected activity?

        Answer "Yes" or "No."

              "Ic,

Proceed to Question 4.

         Question 4

        Did Defendant City of Elgin fail or refuse to restore Plaintiff Bomiie Crankshaw to her same
or an equivalent job position on her return from FMLA leave?

        Answer "Yes" or "No."



Proceed to Question 5.
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                                (Third Cause of Action: ADA Discrimination)

         Question 5

         Did Plaintiff Bonnie Crankshaw have a disability?

         Answer "Yes" or "No."



If you answered, "Yes" to Question 5 then pro ceed to Question 6. Otherwise,   do not answerQuestion 6, 7,   8 and 9
and proceed to Question 10.

         Question 6
         Has Plaintiff Crankshaw proved that Defendant City of Elgin terminated her because of her
disability?

         Answer "Yes" or "No."

                   wo
Proceed to Question 7.
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                          (Fourth Cause of Action: ADA Failure to Accommodate)

         Question 7
       Was Plaintiff Bonnie Crankshaw a qualified individual, who could perform the essential
functions of the HR Administrator jobdespite her disabilitywhen she was terminated?

        Answer "Yes" or "No."



If you answered "Yes" to Question   7, proceed to Question 8. Otherwise, do not answer Questions 8 or 9   and proceed
to Question 10.


        Question 8

        Did Defendant City of Elgin know that Plaintiff Bonnie Crankshaw was disabled?

        Answer "Yes" or "No."



Ifyou answered "Yes" to Question 8 proceed to Question 9.   Otherwise, proceed to Question 10.

        Question 9

        Did Defendant City of Elgin fail to reasonably accommodate Plaintiff Bonnie Crankshaw's
disability?

        Answer "Yes" or "No."

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Proceed to Question 10.
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                              (Fifth Cause of Action: ADA Retaliation)

           Ouestion 10
       Did Defendant City of Elgin terminate Plaintiff Bonnie Crankshaw because of her request
for accommodations?

          Answer "Yes" or "No."



Proceed   to   Question 11.
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                     (Compensatory FMLA DamagesClaims against City of Elgin)

         Question 11

         What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff
Bonnie Crankshaw for the damages, if any, youhave found Defendant City of Elgin caused her by
failing to timely respond to her first FMLA intermittent leave request on August 12, 2016?

        Answer in dollars and cents:

         $          OOO°°
Proceed to Question 12 fjiou answered "Yes" to Questions   1,   2, 3, or 4. Otherwise, do not answerQuestion 12 and
proceed to Question 13.

         Question 12

      What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff
Bonnie Crankshaw for damages, if any, you have found Defendant City of Elgin caused Plaintiff
Bonnie Crankshaw?

        Answer in dollars and cents for the following items and none other:

         1.    Wages, salary, employment benefits, or other compensation denied or lost from January
               13, 2017 to May 24, 2019.

               $


Proceed to Question 13.
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                      (Compensatory ADA DamagesClaims against City of Elgin)

         Question 13

Answer Question 13 fyou answered "Yes" to Questions 7 and 8, andJ/ou answered "Yes" to either Question 9 or
Question 10. Otherwise, do not answerQuestion 13 and proceed to Question 14.

       What sum of money, if paid now in cash, wou.ld fairly and reasonably compensate Plaintiff
Bonnie Crankshaw for damages, if any, you have found Defendant City of Elgin caused Plaintiff
Bonnie Crankshaw?

        Answer in dollars and cents for the following items and none other:

         1.    Wages and benefits from January 13, 2017, to May 24, 2019.




        2.     Past pain and suffering, inconvenience, mental anguish, and loss of enjoyment of life.



         3.    Future pain and suffering, inconvenience, mental anguish, and loss of enjoyment of life.

               $


Proceed to Question 14.
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                        (Mitigation of DamagesClaims against City of Elgin)

         Question 14

        Has Defendant City of Elgin demonstrated that Plaintiff Bonnie Crankshaw failed to reduce
her damages through the exercise of reasonable diligence in seeking, obtaining, and maintaining
substantially equivalent employment after the date of her termination?

         Answer "Yes" or "No."



Ifjou answered "Yes" to Question   14, proceed to Question 15. Otherwise, do not answerQuestion 15 andproceed to
Part 2.

         Question 15

        What sum of money, if paid now in cash, is the amount by which Plaintiffs damages, if any,
cotild have been reduced through her reasonable diligence in seeking, obtaining, and maintaining
substantially equivalent employment after the date of her termination?

         Answer in dollars and cents:



Proceed to   Part 2.
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            PART 2: Plaintiff Crankshaw's Claims against Defendant Thomas Mattis

                                (First Cause of Action: FMLA Interference)

        Ouestion 1

       Did Defendant Thomas Maths deny, restrain, or interfere with Plaintiffs right to leave
under the NvILA, or with her attempt to exercise her right to leave under the FMLA?

        Answer "Yes" or "No."

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Proceed to Ouestion 2.

         Ouestion 2
       Did Defendant Thomas Mattis fail or refuse to restore Plaintiff Bonnie Crankshaw to her
same or an equivalent job position on her return from FMLA leave?

         Answer "Yes" or "No."



If you answered  "Yes" to Question   1   or Question 2, proceed to Question 3. Otherwise, do not answer Question 3 and
proceed to Question 4.

         Ouestion 3
        Do you find that Thomas Maths is entitled to qualified immunity for interfering with
Plaintiff Bonnie Crankshaw's right to leave under the FMLA?

         Answer "Yes" or "No."



Proceed to Question 4.




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                                 (Second Cause of Action: FMLA Retaliation)

          Question 4

        Did Defendant Thomas Mattis terminate Plaintiff Bonnie Crankshw because of her FMLA-
protected activity?

          Answer "Yes" or "No."



Ifyou   answered "Yes" to Question 4, proceed to Question 5. Otherwise do not answer Question 5 and proceed to
Question 6.

          Question 5

          Do you find that Thomas Mattis is entitled to qualified immunity for terminating Plaintiff
Bonnie Crankshaw?

          Answer "Yes" or "No."



Proceed to Question 6.




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                         (Compensatory FMLA DamagesClaims against Mattis)

         Question 6

Answer Question 6 (1) 50U answered "Yes" to both Questions 1 and 2 and 'No" to Question 3, or (2) you
answered 'No" to Question 4 and 'No" to Question 5. Otherwise, do not answer Question 6, and proceed to
Question 7.

       What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff
Bonnie Crankshaw for damages, if any, you have found Defendant Thomas Maths caused Plaintiff
Bonnie Crankshaw?

         Answer in dollars and cents for the following items and none other:

    1.   Wages, salary, employment benefits, or other compensation denied or lost from January 13,
         2017, to May 24, 2019.

         $-
Proceed to Question 7.




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                            (Mitigation of DamagesClaims against Mattis)

        Question 7
       Has Defendant Thomas Mattis demonstrated that Plaintiff Bonnie Crankshaw failed to
reduce her damages through the exercise of reasonable diligence in seeking, obtaining, and
maintaining substantially equivalent employment after the date of her termination?

        Answer "Yes" or "No."



Ifjou answered "Yes" to Question   7, proceed to Question 8. Otherwise, do not answer Question 8.


        Question 8

        What sum of money, if paid now in cash, is the amount by which Plaintiff's damages, if any,
could have been reduced through her reasonable diligence in seeking, obtaining, and maintaining
substantially equivalent employment after the date of her termination?

        Answer in dollars and cents:




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                                    VERDICT OF THE JURY

       We, the jury, have unanimously agreed to the answers to the attached questions and return

such answer in open court, and under the instructions of the Court, as our verdict in this cause.


                                                                     ORIGINAL SIGNATURE
SIGNED this 23         day of                ,2019.                REDACTED PURSUANT TO
                                                                  F-GOVERNMENT ACT OF 2002

                                                                  PRESthING JUROR




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